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 18
 19                     UNITED STATES DISTRICT COURT

 20              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 21 LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-cv-02291 DOC-KES
    RIGHTS, et al.,
 22                                              MEMORANDUM OF POINTS AND
               Plaintiffs,                       AUTHORITIES IN SUPPORT OF
 23                                              COUNTY OF LOS ANGELES’
 24     v.                                       MOTION TO DISMISS

 25 CITY OF LOS ANGELES, et al.,                 Hearing Date: May 10, 2021
                                                 Time: 8:30 a.m.
 26                  Defendants.                 Location: Courtroom 9D
 27                                              Assigned to the Hon. David O. Carter
 28                                              and Magistrate Judge Karen E. Scott
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  1 I.      INTRODUCTION
  2         The County of Los Angeles (“County”) is committed to addressing the
  3 homelessness crisis and is undertaking tremendous efforts to support people
  4 experiencing homelessness (“PEH”). Plaintiffs acknowledge the County has made
  5 substantial efforts to combat homelessness and that such efforts are “impressive and
  6 commendable.” The County spends hundreds of millions of dollars each year on
  7 PEH and has stepped up its efforts in recent years. With funding from voter-
  8 approved Measure H, the County developed and funded the Homeless Initiative,
  9 which has 47 Strategies recommended by experts, academics, public interest groups,
 10 homeless advocates and other stakeholders. The COVID-19 pandemic presented
 11 new challenges, which the County met with innovative strategies such as Project
 12 Roomkey.
 13         While the County shares Plaintiffs’ goal of providing shelter to all PEH, their
 14 lawsuit is not the proper forum. The Complaint alleges 14 causes of action, nine
 15 against the County, to support the core relief Plaintiffs seek—a broad and
 16 unmanageable federal court injunction. There is simply no precedent under federal
 17 or state law to support such a remedy. Complex policy questions about how to
 18 address homelessness must be resolved by the County’s elected governing body, the
 19 Board of Supervisors. This lawsuit seeks to intrude upon the County’s legislative
 20 process based on untenable legal theories.
 21 II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY
 22         A.     The Plaintiffs
 23         The LA Alliance for Human Rights (“LA Alliance”) is an unincorporated
 24 association of members working to address the homeless crisis. (Compl. ¶ 76.)
 25 Each of its members is a resident of the City of Los Angeles. (Id.) None of the
 26 plaintiffs are currently homeless.
 27         All eight of the individual Plaintiffs are members of LA Alliance. (Id.)
 28 Seven of the individual Plaintiffs live, work and/or own property in Skid Row. (Id.
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   1 ¶¶ 77-106, 112-22.) The only Plaintiff not in Skid Row is George Frem (id. ¶¶ 108-
   2 11), who owns an auto-repair shop in Mar Vista that is near a homeless encampment
   3 underneath the 405 freeway. (Id. ¶ 108.) All Plaintiffs are located in the City of
   4 Los Angeles.
   5         B.    The Allegations
   6         The Complaint acknowledges that the “City and the County combined spend
   7 over a billion dollars annually providing police, emergency, and support services to
   8 those living on the streets.” (Compl. ¶ 2.) Plaintiffs recognize that “[o]fficials in
   9 both the County and City have gone to great lengths in the last couple years to
  10 address this crisis” and avers that these efforts are “impressive and
  11 commendable.” (Id. ¶ 18; id. ¶ 74 (“Plaintiffs do not suggest the City and County
  12 are doing nothing; the amount of effort and resources that have been devoted to
  13 addressing this issue is considerable and admirable.”).)
  14         Nevertheless, the Complaint alleges that the City of Los Angeles (“City”) is
  15 responsible for the recent growth of homeless encampments in Skid Row. The
  16 Complaint alleges that, as a result of settlements and court orders in civil litigation,
  17 the City has not been able to fully enforce its anti-vagrancy laws. (E.g., id. ¶¶ 47-
  18 48.) The most significant court order, according to Plaintiffs, is the recent decision
  19 by the Ninth Circuit in Martin v. City of Boise. (Id. ¶ 47.) Plaintiffs allege that the
  20 Ninth Circuit held in Martin that municipal governments cannot enforce anti-
  21 vagrancy laws to evict the homeless unless there are a sufficient number of beds
  22 within that jurisdiction to house every single homeless person. (Id.) Plaintiffs
  23 allege that this decision prevents the City from evicting the homeless from Skid
  24 Row because there are not enough homeless shelters in the City to house all PEH.
  25         The Complaint claims that the City has sufficient funds to build enough
  26 shelters. Plaintiffs allege that Proposition HHH will raise $1.2 billion over the next
  27 10 years and that those funds would be sufficient if utilized efficiently and
  28 according to Plaintiffs’ housing recommendations. (Id. ¶ 61.)
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   1         As to the County, Plaintiffs do not allege the County is responsible for the
   2 recent growth in homeless encampments. Rather, Plaintiffs claim that the County is
   3 liable because it could help the City build enough homeless shelters so that the
   4 City’s enforcement of anti-vagrancy laws can resume. To support this, Plaintiffs
   5 allege the County has sufficient funds within its general fund and in sales tax
   6 revenue raised from Measure H to build enough homeless shelters to house all PEH
   7 within Los Angeles County. Plaintiffs also allege there is approximately $1 billion
   8 in tax revenue collected pursuant to the Mental Health Services Act (“MHSA”) that
   9 could be used to increase the number of beds available to PEH at mental health
  10 facilities. (Id. ¶ 66.) Plaintiffs further claim there are emergency funds available
  11 that have not been utilized. (Id. ¶ 67.)
  12         C.    The County’s Efforts To Combat Homelessness
  13         As set forth in the accompanying Request for Judicial Notice (“RJN”),
  14 Plaintiffs’ admissions as to the “impressive and commendable” efforts by the
  15 County are well-supported by the public record. As a recent quarterly report from
  16 the County Chief Executive Office (“CEO”) states, since July 2017:
  17          19,767 PEH have been permanently housed through Measure H strategies;
  18          39,218 PEH have been placed in interim housing;
  19          Public Housing Authorities throughout the County have provided
               $2,288,145 in incentives to landlords to help house 1,139 formerly
  20           homeless individuals and families with housing vouchers; and
  21          Countywide Benefits Entitlement Services Teams have helped
  22           3,486 disabled individuals apply for SSI and/or Veterans Disability
               Benefits. [Declaration of Mira Hashmall (“Hashmall Decl.”) Ex. 2; see
  23           also Ex. 18.]
  24         As to Measure H funds, Plaintiffs acknowledge that the County spends
  25 hundreds of millions of dollars each year to serve PEH. (Compl. ¶¶ 66-67.) The
  26 County allocates voter-approved Measure H funds, which is codified in the County
  27 Code, to execute the strategies set forth in the Homeless Initiative. [Hashmall Decl.
  28 Ex. 4.] The Homeless Initiative contains 47 Strategies to combat homelessness that
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   1 were developed after conducting 18 policy summits involving 25 County
   2 departments, 30 cities and other public agencies, and over 100 community
   3 stakeholders. [Hashmall Decl. Ex. 1.] A Citizens’ Oversight Advisory Board
   4 reviews all expenditures from the special sales tax. [Hashmall Decl. Ex. 5, p. 6.]
   5 The audits are publicly available.1 Thus, Plaintiffs’ allegation that the County is not
   6 effectively utilizing Measure H funds is entirely conclusory.2
   7           As to MHSA funds, Plaintiffs claim there are $1 billion in available funds, but
   8 that too is contradicted by the public record. The County’s MHSA funds are
   9 allocated according to a three-year expenditure plan approved by the State. The
  10 California Department of Health Services and the MHSA Oversight and
  11 Accountability Commission review and approve each county’s three-year program
  12 and expenditure plan. [ECF No. 197.] This process is subject to State monitoring
  13 and supervision. [Id.] MHSA spending must comply with a detailed regulatory
  14 scheme, including strict state guidelines regarding the eligible service population
  15 and the eligible services and programs. [Id.] There is no support for Plaintiffs’
  16 conclusory allegations.
  17           D.     The County Made Significant Progress In 2020
  18           As Plaintiffs seek injunctive relief, it is important to evaluate that claim based
  19 on the current record. See Toyota Motor Sales, U.S.A., Inc. v. Tabari, 610 F.3d
  20 1171, 1182 (9th Cir. 2010) (injunctions do not punish “past conduct”). Since the
  21 creation of the Homeless Initiative and passage of Measure H, the County has
  22 accelerated its work to improve the lives of PEH in the region.
  23           In March 2020, the County facilitated Project Roomkey and a quarantine and
  24 isolation program to house an especially vulnerable subset of the homeless
  25
  26   1
           https://homeless.lacounty.gov/oversight/
  27   2
       Plaintiffs allege the County does not spend all of Measure H revenue each year,
  28 but it is undisputed that excess funds roll over to next year’s budget.
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   1 population in hotel and motel rooms where they could isolate and practice social
   2 distancing to reduce the likelihood of contracting and spreading COVID-19. To
   3 date, the County has housed close to 4,000 PEH in hotels and motels. [Hashmall
   4 Decl. Ex. 6, p. 12.]
   5        The County is also developing post-pandemic housing plans for PEH. On
   6 April 14, 2020, the Board directed CEO to develop a program to provide long-term
   7 housing options and services to PEH who are aged 65 years or older, including those
   8 who were provided temporary emergency housing. [Hashmall Decl. Exs. 11-12.]
   9 On May 12, 2020, the Board directed the Los Angeles Homeless Services Authority
  10 (“LAHSA”) to work with partner agencies to develop a post-COVID-19 recovery
  11 plan for homelessness. [Hashmall Decl. Ex. 13.]
  12        On June 23, 2020, LAHSA submitted its COVID-19 Recovery Plan to the
  13 Board. The Recovery Plan requires the participation of both the County and the
  14 City, and encompasses the entire region. It proposes using bridge housing, rental
  15 subsidies and rehousing services to provide permanent housing placements and
  16 long-term housing stability for thousands of the County’s PEH. [Hashmall Decl.
  17 Ex. 9, p. 3.]
  18        The County also works closely with the City to address homelessness. In
  19 June 2020, the County and the City reached an agreement to provide 6,700 beds
  20 within 18 months to house or shelter (i) PEH living within 500 feet of freeway
  21 overpasses, underpasses, and ramps in the City, and to give priority to providing
  22 housing or shelter to (ii) PEH 65+ and (iii) other vulnerable PEH within the City.
  23 [ECF Dkt. No. 136.] As part of the agreement, the County committed to investing
  24 $293 million over the next five years to assist in funding services for 6,000 of these
  25 beds. [Id.] The County had no legal obligation to do so.
  26        Alongside these efforts, the County dedicates resources to the Preventing and
  27 Ending Homelessness Program, which provides legal services and advocacy for
  28 PEH, and the Problem-Solving Program, which trains staff at key points of inflow
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   1 into the homeless service system on how to prevent or rapidly resolve a person’s
   2 homelessness through empowerment techniques and flexible financial assistance.
   3 [Hashmall Decl. Ex. 2, p. 20.]
   4         There is no simple solution to this complex problem. Combatting
   5 homelessness is, and will continue to be, a community-wide undertaking. The
   6 County is working hard, achieving meaningful results, and remains ready and
   7 willing to work collaboratively to continue in its efforts to address homelessness.
   8 This lawsuit, however, is not the solution—legally or factually.
   9         E.     County Services
  10         Through 11 different County departments—Children and Family Services,
  11 Health Services, Mental Health, Public Health, Public Social Services, LAHSA,
  12 Development Authority, Sheriff’s Department, Probation, Public Defender and
  13 Workforce Development, Aging and Community Services—the County provides an
  14 extensive array of services to PEH. They are provided to PEH and others
  15 throughout the County and are summarized in the accompanying RJN. [Hashmall
  16 Decl. Ex. 17.]
  17 III.    LEGAL STANDARD
  18         On a Rule 12(b)(1) motion, the federal court must presume that it lacks
  19 jurisdiction and “the burden of establishing the contrary rests upon the party
  20 asserting jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
  21 377 (1994); DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006) (the
  22 party asserting federal jurisdiction has the burden of establishing it). Because
  23 standing pertains to the court’s subject matter jurisdiction, it is properly raised in a
  24 Rule 12(b)(1) motion. Chandler v. State Farm Mut. Auto. Ins. Co., 598 F.3d 1115,
  25 1122 (9th Cir. 2010). In ruling on a challenge to subject matter jurisdiction, “the
  26 district court is not confined by the facts contained in the four corners of the
  27 complaint—it may consider facts and need not assume the truthfulness of the
  28 complaint.” Americopters, LLC v. F.A.A., 441 F.3d 726, 732 n.4 (9th Cir. 2006).
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   1         On a motion to dismiss under Rule 12(b)(6), plaintiffs must provide “more
   2 than labels and conclusions.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
   3 A complaint must contain sufficient factual matter that, when accepted as true, states
   4 a claim that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
   5 The Court must disregard “legal conclusions” and “conclusory statements” and
   6 scrutinize the well-pleaded factual allegations to ensure that they are more than
   7 “‘merely consistent with’ a defendant’s liability.” Id. at 678-79 (citation omitted).
   8 IV.     THERE IS NO JUSTICIABLE CASE OR CONTROVERSY BETWEEN
   9         PLAINTIFFS AND THE COUNTY
  10         No principle is more fundamental to the judiciary’s proper role in our system
  11 of government than the constitutional limitation of federal-court jurisdiction to
  12 actual cases or controversies. Raines v. Byrd, 521 U.S. 811, 818 (1997). Standing is
  13 an essential and unchanging part of the case-or-controversy requirement of
  14 Article III. DaimlerChrysler Corp., 547 U.S. at 342.
  15         Article III standing is a critical issue when a federal lawsuit is brought by
  16 taxpayers challenging discretionary spending by a municipality on issues that impact
  17 the general welfare of its residents. DaimlerChrysler Corp., 547 U.S. at 346
  18 (holding that generally “state taxpayers have no standing under Article III to
  19 challenge state tax or spending decisions simply by virtue of their status as
  20 taxpayers”). As the Supreme Court explained: “because state budgets frequently
  21 contain an array of tax and spending provisions, any number of which may be
  22 challenged on a variety of bases, affording state taxpayers standing to press such
  23 challenges simply because their tax burden gives them an interest in the state
  24 treasury would interpose the federal courts as “‘virtually continuing monitors of the
  25 wisdom and soundness’” of state fiscal administration, contrary to the more modest
  26 role Article III envisions for federal courts.” Id. (citation omitted).
  27         Thus, generalized grievances about local government are not viable. To have
  28 Article III standing, a plaintiff must establish (1) that he or she suffered an “injury in
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   1 fact” (2) that is fairly traceable to the alleged conduct of the defendant and (3) that
   2 can be redressed by a federal court. Steel Co. v. Citizens for a Better Env’t, 523
   3 U.S. 83, 102-03 (1998) (citation omitted). Here, Plaintiffs lack standing to sue the
   4 County.
   5              A.    Plaintiffs’ Alleged Injuries Are Not Fairly Traceable To The
   6                    County
   7              To show causation, Plaintiffs must show that their injuries are “fairly
   8 traceable” to the County’s alleged misconduct. Wash. Envtl. Council v. Bellon, 732
   9 F.3d 1131, 1141 (9th Cir. 2013) (citation omitted). The line of causation must be
  10 “more than ‘attenuated.’” Native Village of Kivalina v. ExxonMobil Corp., 696 F.3d
  11 849, 867 (9th Cir. 2012) (Pro, J., concurring) (citation omitted). Where the causal
  12 chain involves numerous third parties whose independent decisions collectively
  13 have a significant effect on plaintiffs’ injuries, the causal chain is too weak to
  14 support standing. Id.
  15              Plaintiffs allege that their lives and businesses have been impacted by the
  16 growth of the homeless population in Skid Row. Plaintiffs do not allege—nor could
  17 they—that the County is responsible. Rather, Plaintiffs allege that the recent
  18 population growth was caused by the City and by recent federal court orders in
  19 litigation involving the City:
  20              (1)   an implicit bargain between the City and real estate developers in the
                        1970s to send “undesirable population elements” to Skid Row;
  21
  22              (2)   the City’s settlement in Jones in 2006 in which the City agreed not to
                        enforce L.A.M.C. § 41.18(d) between the hours of 9 p.m. and 6 a.m.;
  23
  24              (3)   the injunction affirmed by the Ninth Circuit in Lavan in 2011 that
                        limited the City’s ability to fully enforce L.A.M.C. § 56.11;
  25
  26              (4)   the City’s settlement in Mitchell after a federal court issued an
                        injunction limiting the enforcement of L.A.M.C. § 56.11; and
  27
  28              (5)   the Ninth Circuit’s decision in Martin, which limits a municipal
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   1               government’s ability to arrest homeless individuals for vagrancy.
   2 (Compl. ¶¶ 25-32.) The County is not linked to any of these alleged causes.
   3       Skid Row is within the incorporated territory of the City of Los Angeles. The
   4 City has authority over, and responsibility for, municipal affairs within its
   5 borders. Cal. Const. art. XI, § 5(b); Richeson v. Helal, 158 Cal. App. 4th 268, 277
   6 (2007) (“The state Constitution gives California cities broad and flexible power to
   7 promote the public welfare.”). Under the powers granted to it by the California
   8 Constitution and its charter, the City is responsible for the general safety and welfare
   9 of its residents within its territory. Cal. Const. art. XI, §§ 5(a), 7.
  10         The County’s authority, meanwhile, is only in the unincorporated areas of the
  11 County. City of Dublin v. County of Alameda, 14 Cal. App. 4th 264, 274-75 (1993)
  12 (“[T]he California Constitution specifies that the police power bestowed upon a
  13 county may be exercised ‘within its limits,’ i.e., only in the unincorporated area of
  14 the county.” (citation omitted)); Cty. Sanitation Dist. No. 2 v. County of Kern, 127
  15 Cal. App. 4th 1544, 1612 (2005) (cities “are necessarily outside the jurisdiction and
  16 authority of County; County’s authority extends only to the unincorporated areas”).
  17         Plaintiffs have failed to allege causality between their alleged injuries (caused
  18 by PEH in Skid Row) and the County. See Warth v. Seldin, 422 U.S. 490 (1975)
  19 (taxpayers lacked standing to challenge zoning regulations as the link between their
  20 increased tax burden to fund low-income housing in their own town was not
  21 sufficiently linked to the alleged failure to support low-income housing in a
  22 neighboring town); Linda R.S. v. Richard D., 410 U.S. 614, 617-18 (1973) (plaintiff
  23 lacked standing to challenge district attorney’s failure to prosecute fathers for
  24 delinquent child support because the link between unpaid support and prosecutorial
  25 discretion was too attenuated).
  26         Plaintiffs’ theory against the County can be distilled in the following
  27 hypothetical: If the County had made better use of its funds, it could have
  28 constructed additional homeless shelters, then there would be enough homeless
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   1 shelters such that, if the City enforced its anti-vagrancy laws, the encampments in
   2 Skid Row would be eliminated and then Plaintiffs could return to the full use and
   3 enjoyment of their property. This theory, however, is too attenuated to support
   4 standing. Warth, 422 U.S. at 509 (pleadings must be something more than an
   5 ingenious academic exercise in the conceivable).
   6         This theory is also speculative. Simon v. E. Ky. Welfare Rights Org., 426
   7 U.S. 26, 42-44 (1976) (standing cannot rest on speculation). Even if the Court
   8 assumes that the County and the City can achieve their goal of ensuring that every
   9 PEH has an available bed, which Plaintiffs concede “will not be easy” (Compl.
  10 ¶ 32), Plaintiffs’ theory assumes that the City could successfully enforce its anti-
  11 vagrancy laws. This assumption is belied by Plaintiffs’ citation to numerous
  12 examples of lawsuits filed against the City and other municipalities in response to
  13 local enforcement of anti-vagrancy laws. Those lawsuits blocked the very same
  14 type of enforcement that Plaintiffs want in Skid Row, and led to further restrictions
  15 that, according to Plaintiffs, resulted in the very harm that they seek remedies for in
  16 this action.
  17         Thus, this Court would have to assume that there will be favorable results in
  18 hypothetical, future enforcement actions, and that there will be favorable results in
  19 subsequent lawsuits filed in response to those hypothetical, future enforcement
  20 actions. Article III standing is lacking here. Native Village of Kivalina, 696 F.3d at
  21 867.
  22         B.     This Court Cannot Award Plaintiffs’ Requested Injunctive Relief
  23         Even if Plaintiffs could trace their injuries to the County, there is still the
  24 problem of redressability. The Complaint fairly interpreted seeks a federal court
  25 injunction requiring the County and the City to spend hundreds of millions of
  26 dollars of taxpayer funds in a specific manner to create enough housing for PEH.
  27 (See, e.g., Compl. ¶ 32 (“[I]t is clear the only way out of the current crisis is to
  28 provide beds to the unsheltered.” (emphasis added)).) The Supreme Court has
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   1 repeatedly cautioned federal trial courts against issuing injunctions that interfere
   2 with matters of state and local government discretion.
   3              Going back almost 50 years, the Supreme Court rejected this type of
   4 interference with matters of local policy. In Rizzo v. Goode, 423 U.S. 362 (1976),
   5 plaintiffs filed a class action against the City of Philadelphia and local officials
   6 alleging police mistreatment of minority citizens and other city residents. Plaintiffs
   7 sought equitable relief, including appointment of a receiver to supervise the police
   8 department and civilian review of police activity. The district court found that
   9 police procedures discouraged the filing of civilian complaints and minimized the
  10 consequences of police misconduct. Id. at 368-69. The court ordered the city to
  11 submit “a comprehensive program for dealing adequately with civilian complaints,”
  12 in accordance with comprehensive court-ordered “guidelines.” Id. at 369.
  13              The proposed program, which was developed to comply with the court’s
  14 order, was incorporated into a final judgment. 423 U.S. at 365. Among other
  15 things, the police commissioner was required to implement a directive governing the
  16 manner in which citizens’ complaints against police officers should be handled. Id.
  17 The Court of Appeals affirmed, holding that the equitable relief ordered “appeared
  18 to have the potential for prevention of future police misconduct.” Id. at 365-66.
  19              The Supreme Court reversed, holding that the judgment was “an unwarranted
  20 intrusion by the federal judiciary into the discretionary authority committed to [the
  21 city officials] by state and local law to perform their official functions.” 423 U.S. at
  22 366. “[F]ederal courts must be constantly mindful of the ‘special delicacy of the
  23 adjustment to be preserved between federal equitable power and State
  24 administration of its own law.’” Id. at 378 (citation omitted). Thus, a plaintiff
  25 seeking to enjoin a government agency “must contend with ‘the well-established
  26 rule that the Government has traditionally been granted the widest latitude in the
  27 “dispatch of its own internal affairs.”’” Id. at 378-79 (citations omitted).
  28              Twenty years later, the Supreme Court reaffirmed the limited scope of federal
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   1 equity power in Lewis v. Casey, 518 U.S. 343 (1996). There, prison inmates sued
   2 the Arizona Department of Corrections for alleged violations of their right of access
   3 to the courts. A special master proposed a permanent injunction with changes to the
   4 Arizona state prison system, which the court adopted. Id. at 346-47.
   5         The Supreme Court held that the district court’s actions violated separation of
   6 powers, explaining that “it is not the role of courts, but that of the political branches,
   7 to shape the institutions of government in such fashion as to comply with the laws
   8 and the Constitution.” 518 U.S. at 349. As aptly put in the concurring opinion:
   9         Principles of federalism and separation of powers impose stringent
             limitations on the equitable power of federal courts. When these
  10
             principles are accorded their proper respect, Article III cannot be
  11         understood to authorize the Federal Judiciary to take control of core
             state institutions like prisons, schools, and hospitals, and assume
  12
             responsibility for making the difficult policy judgments that state
  13         officials are both constitutionally entitled and uniquely qualified to
             make. Broad remedial decrees strip state administrators of their
  14
             authority to set long-term goals for the institutions they manage and of
  15         the flexibility necessary to make reasonable judgments on short notice
             under difficult circumstances.
  16
  17 Id. at 385 (Thomas, J., concurring) (citation omitted).
  18         In Horne v. Flores, 557 U.S. 433 (2009), English Language–Learner (“ELL”)
  19 students and their parents filed a class action alleging that Arizona was violating the
  20 Equal Educational Opportunities Act by failing to take appropriate action to
  21 overcome language barriers. The district court issued an injunction requiring the
  22 state to increase funding for ELL programs, held the State in civil contempt for
  23 failing to do so, and rejected the State’s proposed legislation as inadequate.
  24 Arizona’s Superintendent of Public Instruction and Arizona legislators intervened,
  25 moved to purge the contempt order, and sought relief from the injunction. The
  26 district court denied the requests, and the Court of Appeals affirmed.
  27         The Supreme Court reversed, cautioning against federal court decrees that
  28 have the effect of dictating state or local budget priorities because “[s]tates and local
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   1 governments have limited funds.” 557 U.S. at 448 (citing Missouri v. Jenkins, 515
   2 U.S. 70, 131 (1995) (“A structural reform decree eviscerates a State’s discretionary
   3 authority over its own program and budgets and forces state officials to reallocate
   4 state resources and funds.”)). It held that the lower court “improperly substituted its
   5 own educational and budgetary policy judgments for those of the state and local
   6 officials to whom such decisions are properly entrusted.” Id. at 455.
   7              Here, Plaintiffs are asking the Court to issue injunctive relief in contravention
   8 of the principles established in Rizzo, Lewis, and Horne. Plaintiffs want this Court
   9 to dictate how the County addresses homelessness, how the County allocates its
  10 financial and human resources, and how the County prioritizes housing for PEH.
  11 The Court may not substitute its own policy judgments for those of elected County
  12 officials and usurp the County’s discretionary authority to “dispatch . . . its own
  13 internal affairs.’” Rizzo, 423 U.S. at 379.
  14              C.    Plaintiffs Also Lack Standing As A Prudential Matter
  15              There exists a body of “judicially self-imposed limits on the exercise of
  16 federal jurisdiction,” Allen v. Wright, 468 U.S. 737, 751 (1984), “founded in
  17 concern about the proper—and properly limited—role of the courts in a democratic
  18 society,” Warth, 422 U.S. at 498. These concerns are commonly referred to as
  19 “prudential” standing. City of Los Angeles v. County of Kern, 581 F.3d 841, 845
  20 (9th Cir. 2009). “Prudential standing encompasses ‘the general prohibition on a
  21 litigant’s raising another person’s legal rights, the rule barring adjudication of
  22 generalized grievances more appropriately addressed in representative branches, and
  23 the requirement that a plaintiff’s complaint fall within the zone of interests protected
  24 by the law invoked.’” United States v. Lazarenko, 476 F.3d 642, 649-50 (9th Cir.
  25 2007) (quoting Allen, 468 U.S. at 751).
  26              Here, Plaintiffs are asserting generalized grievances that are not redressible in
  27 the courts. 476 F.3d at 649-50. Thus, Plaintiffs also lack standing as a “prudential”
  28 matter.
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   1 V.           PLAINTIFFS HAVE NO VIABLE CLAIMS AGAINST THE COUNTY
   2              A.    Plaintiffs Have Not Stated A Claim Under 42 U.S.C. Section 1983
   3              In their Eleventh, Twelfth and Fourteenth Causes of Action, Plaintiffs allege
   4 the County violated section 1983 by (1) infringing Plaintiffs’ substantive due
   5 process rights, (2) denying Plaintiffs equal protection under the law, and
   6 (3) violating the state-created danger doctrine.
   7                    1.     Plaintiffs Have Not Stated a Substantive Due Process Claim
   8              A threshold requirement of a substantive due process claim “is the plaintiff’s
   9 showing of a liberty or property interest protected by the Constitution.”
  10 Wedges/Ledges of Cal., Inc. v. City of Phoenix, Ariz., 24 F.3d 56, 62 (9th Cir. 1994).
  11 Substantive due process usually applies to matters relating to marriage, family,
  12 procreation, and the right to bodily integrity. Albright v. Oliver, 510 U.S. 266, 272
  13 (1994).
  14              A substantive due process claim that does not involve fundamental rights
  15 requires proof that the government’s conduct was “clearly arbitrary and
  16 unreasonable, having no substantial relation to the public health, safety, morals, or
  17 general welfare.” Village of Euclid, Ohio v. Ambler Realty Co., 272 U.S. 365, 395
  18 (1926); County of Sacramento v. Lewis, 523 U.S. 833, 845-49 (1998) (substantive
  19 due process prohibits the arbitrary deprivation of individuals’ liberty by
  20 government).
  21              Here, Plaintiffs do not contend the County violated their fundamental rights.
  22 In fact, Plaintiffs do not even specify what constitutional rights underlie their claim.
  23 (See Compl. ¶¶ 185-86.) At best, Plaintiffs allege that they suffered economic
  24 harms, such as lost business, increased costs and lost property value, as a result of
  25 encampments in Skid Row. (Id.) As these are not fundamental rights, Plaintiffs’
  26 theory is necessarily limited to a claim that the County violated their rights through
  27 arbitrary action. County of Sacramento, 523 U.S. at 845-49; Village of Euclid, 272
  28 U.S. at 395.
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   1         Plaintiffs “shoulder a heavy burden.” Halverson v. Skagit County, 42 F.3d
   2 1257, 1262 (9th Cir. 1994). They must allege that the County “could have had no
   3 legitimate reason for its decision.” Id. (citing Kawaoka v. City of Arroyo Grande,
   4 17 F.3d 1227, 1234 (9th Cir. 1994)). If the County’s conduct was rationally related
   5 to a legitimate governmental interest, there is no due process violation. Id.
   6         Plaintiffs have not alleged that the County acted irrationally or arbitrarily.
   7 Rather, the Complaint attacks decisions made by the City in response to federal
   8 court cases in which the County was not a party. (Compl. ¶ 186 (alleging that the
   9 City “had no rational basis” for entering into a settlement in the Mitchell case and
  10 for relying on that settlement to not enforce anti-vagrancy laws in Skid Row).)
  11 Plaintiffs cannot sue the County based on alleged irrational conduct by the City.
  12 Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989) (“Liability under section 1983
  13 arises only upon a showing of personal participation by the defendant.”).
  14         Plaintiffs must also demonstrate that the County’s conduct “shocks the
  15 conscience.” County of Sacramento, 523 U.S. at 846. This requires a showing that
  16 the County acted with an intent to injure. Id. at 849. Plaintiffs do not and cannot
  17 meet that burden. At best, Plaintiffs allege that the County spent taxpayer funds
  18 ineffectively, but this theory has been rejected by the Supreme Court. Id. at 848-49
  19 (“[L]iability for negligently inflicted harm is categorically beneath the threshold of
  20 constitutional due process.”).
  21         Plaintiffs admit the County’s efforts have been commendable in responding to
  22 the homelessness crisis. (Compl. ¶ 2 (“The City and the County combined spend
  23 over a billion dollars annually providing police, emergency, and support services to
  24 those living on the streets.”); id. ¶ 18 (the County has “gone to great lengths in the
  25 last couple years to address this crisis”); id. ¶ 73 (“[T]he City and County have
  26 made efforts to address this crisis . . .”); id. ¶ 74 (“[T]he amount of effort and
  27 resources that have been devoted to addressing this issue is considerable and
  28 admirable.”).) These admissions foreclose liability. County of Sacramento, 523
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   1 U.S. at 845-49.
   2                2.    Plaintiffs Have Not Alleged an Equal Protection Violation
   3         “The first step in equal protection analysis is to identify the [defendants’]
   4 classification of groups.” Country Classic Dairies, Inc. v. State of Montana, Dep’t
   5 of Commerce Milk Control Bureau, 847 F.2d 593, 596 (9th Cir. 1988). This is
   6 because a plaintiff must “show that the law is applied in a discriminatory manner.”
   7 Freeman v. City of Santa Ana, 68 F.3d 1180, 1187 (9th Cir. 1995). The next step is
   8 to “determine the level of scrutiny.” Country Classic Dairies, 847 F.2d at 596.
   9         Plaintiffs allege that the County violated equal protection by “enforcing the
  10 law in some areas and declining to enforce the law in others,” which allowed some
  11 homeless encampments to persist. (Compl. ¶¶ 185-86.) This theory fails.
  12         First, there is no allegation that the County engaged in any enforcement.
  13 Taylor, 880 F.2d at 1045 (“Liability under section 1983 arises only upon a showing
  14 of personal participation by the defendant.”). The Complaint only alleges that the
  15 City failed to enforce its own anti-vagrancy laws in Skid Row. (Compl. ¶ 30.) The
  16 County does not enforce the City’s anti-vagrancy laws, including within Skid Row.
  17         Second, Plaintiffs do not allege discrimination against a suspect class. Wayte
  18 v. United States, 470 U.S. 598, 608 (1985) (“It is appropriate to judge selective
  19 prosecution claims according to ordinary equal protection standards.”). Plaintiffs
  20 complain that homeless encampments are permitted to remain in certain places in
  21 Los Angeles. But physical location is not a suspect classification. Culinary Studios,
  22 Inc. v. Newsom, 2021 WL 427115 (E.D. Cal. Feb. 8, 2021) (applying the rational
  23 basis test to equal protection challenge claiming that COVID-19 policies
  24 discriminate against businesses based on their physical location); In re Tourism
  25 Assessment Fee Litig., 2009 WL 10185458 (S.D. Cal. Feb. 19, 2009) (applying
  26 rational basis review to equal protection challenge to state program that granted
  27 favorable treatment to persons who rented cars at airports as opposed to other
  28 locations). The rational basis test applies. Hodel v. Indiana, 452 U.S. 314, 331
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   1 (1981) (laws that do not “employ suspect classifications or impinge on fundamental
   2 rights must be upheld against equal protection attack when the legislative means are
   3 rationally related to a legitimate governmental purpose”).
   4         Under rational basis review, the presumption that governmental decision-
   5 making is rational “can only be overcome by a clear showing of arbitrariness and
   6 irrationality.” Hodel, 452 U.S. at 331-32. Here, the Complaint alleges that the City
   7 is limited in its ability to enforce City anti-vagrancy laws due to the Ninth Circuit’s
   8 decision in Martin. (Compl. ¶ 31.) Plaintiffs’ equal protection theory requires this
   9 Court to find that compliance with Martin is “irrational.” That theory is untenable.
  10         Third, Plaintiffs cannot show that the County discriminated against anyone.
  11 A plaintiff bringing an equal protection challenge must show “both that the . . .
  12 system had a discriminatory effect and that it was motivated by a discriminatory
  13 purpose.” Wayte, 470 U.S. at 608-09. Plaintiffs contend that the City did not
  14 enforce its anti-vagrancy laws in Skid Row. The County has no enforcement
  15 authority in the City and, in fact, has a “Care First” model that does not support
  16 enforcement as a solution to homelessness. Thus, Plaintiffs have not alleged and
  17 cannot allege a discrimination claim against the County under section 1983.
  18         Plaintiffs cannot allege discriminatory animus. The County admittedly has
  19 made substantial efforts to serve the needs of PEH and reduce homelessness.
  20 (Compl. ¶¶ 2,18, 73, 74.)
  21                3.     The State-Created Danger Doctrine Does Not Apply
  22         The “state-created danger” doctrine is a theory of substantive due process
  23 liability. Kennedy v. City of Ridgefield, 439 F.3d 1055, 1061-62 (9th Cir. 2006).
  24 Generally, “members of the public have no constitutional right to sue [public]
  25 employees who fail to protect them against harm inflicted by third parties.” L.W. v.
  26 Grubbs, 974 F.2d 119, 121 (9th Cir. 1992). The “state-created danger” doctrine is a
  27 narrow exception that permits a plaintiff to sue officers who fail “to protect a
  28 person’s interest in his personal security or bodily integrity when the [officer]
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   1 affirmatively and with deliberate indifference placed that person in danger.” Pauluk
   2 v. Savage, 836 F.3d 1117, 1122 (9th Cir. 2016).
   3              To assert a “state-created danger” claim, the plaintiff must prove that the
   4 officials (1) created an actual, particularized danger through their own affirmative
   5 conduct, and (2) acted with deliberate indifference to a known or obvious danger.
   6 Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th Cir. 2011). In addition, a municipal
   7 government, such as the County, cannot be vicariously liable under section 1983.
   8 Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 691 (1978). To
   9 assert a “state-created danger” claim against the County, Plaintiffs must further
  10 allege that the County is directly responsible for the conduct of its employees
  11 through a recognized theory of municipal liability. Id.
  12              Here, Plaintiffs do not allege any of these essential elements. Plaintiffs do not
  13 allege that any County official committed an affirmative act that created an
  14 imminent risk of bodily harm. In fact, the individual Plaintiffs do not allege that
  15 they suffered any bodily harm.3 Plaintiffs also do not allege that any County official
  16 acted with deliberate intent to expose Plaintiffs to a known or obvious danger.
  17              Plaintiffs also do not allege that the County is directly responsible under
  18 Monell. Instead, Plaintiffs rely solely on conclusory allegations (Compl. ¶¶ 189-90),
  19 which does not work. Iqbal, 556 U.S. at 678 (“[A] formulaic recitation of the
  20 elements of a cause of action will not do.” (citation omitted)).
  21              Plaintiffs must show that this County official acted with deliberate
  22 indifference and pursuant to an official County policy. Monell, 436 U.S. at 691.
  23 Plaintiffs cannot do so as they concede the County has made substantial efforts to
  24   3
         LA Alliance cannot pursue a “state-created danger” claim. An organization cannot
  25   sue on behalf of its members if the claim asserted or the relief requested requires the
  26   participation of the individuals. Hunt v. Wash. State Apple Advert. Comm’n, 432
       U.S. 333, 343 (1977). The cognizable injuries—bodily harm—are “peculiar to the
  27   individual member concerned, and both the fact and extent of injury would require
  28   individualized proof.” Warth, 422 U.S. at 515-16.
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   1 both serve the needs of PEH and reduce homelessness. (Compl. ¶¶ 2, 18, 73, 74.)
   2                4.    The County Has No Unlawful Policy, Custom or Practice
   3         Plaintiffs’ Fourteenth Cause of Action (Municipal Liability) alleges that the
   4 County injured Plaintiffs through an unlawful policy, custom or practice, but that is
   5 not a standalone claim. It is an element of the other section 1983 claims. Collins v.
   6 City of Harker Heights, Tex., 503 U.S. 115, 120 (1992) (“[P]roper analysis requires
   7 us to separate two different issues when a § 1983 claim is asserted against a
   8 municipality: (1) whether plaintiff’s harm was caused by a constitutional violation,
   9 and (2) if so, whether the [municipal government] is responsible for that
  10 violation.”); Monell, 436 U.S. at 691 (municipal governments cannot be held liable
  11 under section 1983 “unless action pursuant to official municipal policy of some
  12 nature caused a constitutional tort.”).
  13         Plaintiffs cannot satisfy their pleading burden based on conclusory
  14 allegations. (Compl. ¶ 195 (alleging, on information and belief, that the conduct of
  15 the County and its agents were “all pursuant to policy, procedure, or customs held
  16 by the City and County of Los Angeles”).) Plaintiffs do not identify any official
  17 County policies that caused them harm. 9th Cir. Model Civ. Jury Instr. 9.5 (2017
  18 ed.) (an “[o]fficial policy” means a “formal policy, such as a rule or regulation
  19 adopted by the defendant . . . resulting from a deliberate choice to follow a course of
  20 action”). Nor do they allege widespread or longstanding customs or practices that
  21 could plausibly constitute “standard operating procedure.” Id. (a “[p]ractice or
  22 custom” means “any longstanding, widespread, or well-settled practice or custom
  23 that constitutes a standard operating procedure of the defendant”).
  24         The only allegation, made on information and belief, is that unnamed County
  25 officials told PEH that they could go to Skid Row. (Compl. ¶ 186.) Even if true,
  26 this allegation would not support Monell liability. Liability for improper custom
  27 may not be predicated on isolated or sporadic incidents because the alleged custom
  28 or practice must be so persistent and widespread that it constitutes a permanent and
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   1 well settled policy. Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996).
   2         Plaintiffs have not stated a claim against the County. Dougherty v. City of
   3 Covina, 654 F.3d 892, 900-01 (9th Cir. 2011) (affirming dismissal of section 1983
   4 claim because the complaint “lacked any factual allegations . . . demonstrating that
   5 his constitutional deprivation was the result of a custom or practice of the City”).
   6         B.     Plaintiffs Have Not Stated A Claim Under California Law
   7         Because Plaintiffs’ federal claims against the County are untenable, the Court
   8 should dismiss the state claims for lack of supplemental jurisdiction. 28 U.S.C.
   9 § 1367(c). To the extent the Court is inclined to retain supplemental jurisdiction, the
  10 Court must still dismiss the County from this case because Plaintiffs have not stated
  11 a claim against the County under California statutory or common law.
  12                1.     The Statutory Claims Are Not Cognizable
  13         The primary California statutory claim asserted against the County is the
  14 Second Cause of Action, brought under California Government Code section 815.6,
  15 which alleges that the County violated mandatory duties owed under Welfare &
  16 Institutions Code (“WIC”) section 17000.4 (Compl. ¶¶ 134-41.) Plaintiffs allege
  17 that the County had a mandatory duty to provide economic support to the homeless
  18 as set forth in WIC section 17000, but failed to do so. (Id.) This claim fails because
  19 WIC section 17000 does not create mandatory duties, but rather vests counties with
  20 discretion to determine the type and form of “care and aid” they provide. See Scates
  21 v. Rydingsword, 229 Cal. App. 3d 1085, 1101 (1991).
  22         To establish a claim for violation of a mandatory duty, a plaintiff must first
  23 prove that the statute at issue is “obligatory, rather than merely discretionary or
  24
       4
  25   WIC section 17000 provides: “Every county and every city and county shall
  26 relieve and support all incompetent, poor, indigent persons, and those incapacitated
     by age, disease, or accident, lawfully resident therein, when such persons are not
  27 supported and relieved by their relatives or friends, by their own means, or by state
  28 hospitals or other state or private institutions.”
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   1 permissive, in its directions to the public entity; it must require, rather than merely
   2 authorize or permit, that a particular action be taken or not taken.” Haggis v. City of
   3 Los Angeles, 22 Cal. 4th 490, 498 (2000). It is not enough that the public entity has
   4 an obligation to perform a function if the function itself involves the exercise of
   5 discretion. Id.
   6         Here, WIC section 17000 provides “general assistance” or “general relief” to
   7 aid indigents. County of San Diego v. State, 15 Cal. 4th 68, 92 & n.15 (1997)
   8 (citation omitted). The statute establishes the State’s “overarching ‘macro’ policy”
   9 relating to its indigent population. Watkins v. County of Alameda, 177 Cal. App. 4th
  10 320, 330 (2009) (citation omitted). Under WIC section 17001, implementation of
  11 the “macro policies” is left to the discretion of California counties. Cal. Welf. &
  12 Inst. Code § 17001 (“The board of supervisors of each county, or the agency
  13 authorized by county charter, shall adopt standards of aid and care for the indigent
  14 and dependent poor of the county or city and county.” (emphasis added)).
  15         WIC section 17000 creates two obligations: (1) provide financial or “general
  16 assistance” to the indigent; and (2) provide medically necessary care to “medically
  17 indigent persons.” Hunt v. Superior Court, 21 Cal. 4th 984, 1002-03 (1999). WIC
  18 section 17001 leaves it to the Board to adopt the “standards of aid and care.”
  19         Because the County has discretion to determine how to discharge its
  20 obligations, the mandatory duty claim fails. Haggis, 22 Cal. 4th at 498; Tailfeather
  21 v. Bd. of Supervisors, 48 Cal. App. 4th 1223, 1246 (1996) (“Achieving the mandated
  22 level of care requires the exercise of considerable discretion as the County chooses
  23 between a multitude of potential courses of action.”). The County is exercising its
  24 discretion in this regard and cannot be second-guessed. Hashmall Decl. Exs. 1-16;
  25 Tailfeather, 48 Cal. App. 4th at 1246 (because counties have discretion to determine
  26 the type of relief they provide under WIC sections 17000 and 17001, a court’s role
  27 is limited to determining “whether the County has abused or exceeded its discretion
  28 under the governing statutes—not to dictate how that discretion must be exercised”).
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   1         In Scates, the court held that counties “have the option” to provide in-kind aid
   2 in lieu of monetary payments under WIC section 17000, but that the plaintiffs’
   3 requested injunctive relief—to reinstate a shelter (i.e., in-kind aid in lieu of
   4 monetary aid)—“misconceives the remedy for an inadequate section-17000
   5 program.” 229 Cal. App. 3d at 1098, 1101. “Sections 17000 and 17001 vest power
   6 in the board [of supervisors] to provide indigent care and aid and to adopt standards
   7 to that end.” Id. at 1101.
   8         The court’s sole inquiry is whether a sufficient factual basis supports the
   9 board’s actions. 229 Cal. App. 3d at 1101; Tailfeather, 48 Cal. App. 4th at 1232
  10 (indigent health care policies and local government finances are best left to the
  11 legislature). Here, per the accompanying RJN, there is no question that the County
  12 is exercising its discretion, and that exercise of discretion cannot be second-guessed
  13 by a court.
  14         Plaintiffs ask this Court to dictate the County’s budget priorities and what
  15 programs and policies to implement to that end. There is no legal basis to request
  16 such relief. See Scates, 229 Cal. App. 3d at 1098-1101; Steiner v. Superior Court,
  17 50 Cal. App. 4th 1771, 1785 (1996) (separation of powers applies to local
  18 governments, including counties).
  19         The other statutory claim is the Sixth Cause of Action alleging that the
  20 County’s expenditures constituted waste under California Code of Civil Procedure
  21 section 526a. (Compl. ¶¶ 155-61.) To obtain relief, the taxpayer must establish that
  22 the expenditure of public funds which he seeks to enjoin is illegal. Herzberg v.
  23 County of Plumas, 133 Cal. App. 4th 1, 23-24 (2005); Lyons v. Santa Barbara Cty.
  24 Sheriff’s Office, 231 Cal. App. 4th 1499, 1503 (2014) (“The trial court correctly
  25 ruled that a taxpayer’s action may not be maintained where the challenged
  26 government conduct is legal.”).
  27         Plaintiffs do not contend that any expenditures by the County are illegal, but
  28 rather that the County could be making better use of its funds. (Compl. ¶ 160.) The
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   1 waste claim therefore fails. Sundance v. Mun. Court, 42 Cal. 3d 1101, 1138-39
   2 (1986) (“[T]he term ‘waste’ as used in section 526a means something more than an
   3 alleged mistake by public officials in matters involving the exercise of judgment or
   4 wide discretion. To hold otherwise would invite constant harassment of city and
   5 county officers by disgruntled citizens and could seriously hamper our
   6 representative form of government at the local level.” (alteration in original)
   7 (citation omitted)).5
   8                2.     The California Tort Claims Fail
   9          In their First Cause of Action, Plaintiffs allege that the County is liable for
  10 negligence because it breached its duty to Plaintiffs by not keeping public areas in
  11 certain unspecified areas “safe and clean.” (Compl. ¶ 128.) To state a negligence
  12 claim, the plaintiff must assert that the government’s duty arises from a statute.
  13 Searcy v. Hemet Unified Sch. Dist., 177 Cal. App. 3d 792, 802 (1986) (“Since the
  14 duty of a governmental agency can only be created by statute or ‘enactment,’ the
  15 statute or ‘enactment’ claimed to establish the duty must at the very least be
  16 identified.”). Duty “cannot be alleged simply by stating ‘defendant had a duty under
  17 the law’; that is a conclusion of law, not an allegation of fact. The facts showing the
  18 existence of the claimed duty must be alleged.” Id.
  19          Plaintiffs do not identify a statutory duty that the County violated, and there is
  20 none here. Instead, Plaintiffs allege that Measure H obligates the County “to
  21 implement [Measure H] in a manner to achieve its purposes.” (Compl. ¶ 131.) The
  22 County does exactly that, and has checks and balances in place to ensure public
  23 accountability regarding the use of Measure H funding. [Hashmall Decl. Ex. 5,
  24 p. 6.]
  25          The County is also immune from suit under the law. California Government
  26   5
       Plaintiffs also name the County as a defendant in the Seventh Cause of Action
  27 (CEQA), but there are no allegations against the County on that claim and thus the
  28 County was erroneously named as a defendant therein. (Compl. ¶¶ 162-66.)
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   1 Code section 820.2 provides that “a public employee is not liable for an injury
   2 resulting from his act or omission where the act or omission was the result of the
   3 exercise of the discretion vested in him, whether or not such discretion be abused.”
   4 This immunity applies when a lawsuit, like the one here, accuses local governments
   5 of negligence in the exercise of “quasi-legislative policy-making.” Caldwell v.
   6 Montoya, 10 Cal. 4th 972, 981 (1995) (citation omitted) (such areas call for judicial
   7 abstention from interference with governing body’s decision-making process). This
   8 discretionary act immunity gives “legislative and executive policymakers sufficient
   9 breathing space in which to perform their vital policymaking functions.” Tarasoff v.
  10 Regents of Univ. of Cal., 17 Cal. 3d 425, 445 (1976); San Mateo Union High Sch.
  11 Dist. v. County of San Mateo, 213 Cal. App. 4th 418, 434 (2013) (granting immunity
  12 to county treasurer who exercised discretion involving “crucial investment policy
  13 decisions that assessed the risks and advantages of competing investment
  14 opportunities”); Freeny v. City of San Buenaventura, 216 Cal. App. 4th 1333, 1341
  15 (2013) (At the core of this immunity are basic policy decisions.).
  16         Here, Plaintiffs allege County officials were “negligent” in spending county
  17 funds. (Compl. ¶¶ 129, 131-32.) Discretion in spending public funds is a legislative
  18 policy function. Thus, Plaintiffs’ negligence theory triggers discretionary immunity.
  19         Government Code section 815.2 provides that a government agency is
  20 immune from vicarious liability “where the employee is immune from liability.”
  21 Richards v. Dep’t of Alcoholic Beverages Control, 139 Cal. App. 4th 304, 317
  22 (2006) (“[A] public entity is not vicariously liable if the employee is immune from
  23 liability.”). Because County officials enjoy discretionary act immunity under
  24 Government Code section 820.2, the County is immune from Plaintiffs’ vicarious
  25 liability claim. Id.
  26         Plaintiffs’ Third Cause of Action (public nuisance) fails for the same reasons.
  27 Where a plaintiff asserts a negligence and a public nuisance claim based on the same
  28 alleged lack of due care, the nuisance claim stands or falls with the negligence
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   1 claim. Melton v. Boustred, 183 Cal. App. 4th 521, 542 (2010).
   2              This leaves Plaintiffs’ Fourth Cause of Action (private nuisance), which fails
   3 for the same reason. 183 Cal. App. 4th at 542; see also El Escorial Owners’ Ass’n
   4 v. DLC Plastering, Inc., 154 Cal. App. 4th 1337, 1349 (2007) (“Where negligence
   5 and nuisance causes of action rely on the same facts about lack of due care, the
   6 nuisance claim is a negligence claim.”).
   7 VI.          CONCLUSION
   8              For the reasons set forth above, the County requests that the Court grant the
   9 Motion in its entirety.
  10
  11 DATED: March 29, 2021                      Respectfully submitted,
  12
                                                MILLER BARONDESS, LLP
  13
  14
  15                                            By:       /s/ Louis R. Miller
                                                      LOUIS R. MILLER
  16
                                                      Attorneys for Defendant
  17                                                  COUNTY OF LOS ANGELES
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